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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

 ALISON MCDANIEL,                        :
      Plaintiff                          :
                                         :
                                         :
      v.                                 :                             C.A. No. 1:23-cv-_________
                                         :                             JURY TRIAL DEMANDED
                                         :
 PRESERVE PROPERTY MANAGEMENT            :
 COMPANY, LLC;                           :
 THE PRESERVE AT BOULDER HILLS, LLC; and :
 PAUL MIHAILIDES,                        :
      Defendants                         :

                                           COMPLAINT

         Plaintiff Alison McDaniel, by and through her attorney, hereby commences this action for
 sex discrimination and unpaid wages against her former employer for violations of the Civil Rights
 Act of 1964, 42 U.S.C. § 2000e et seq.; the Rhode Island Fair Employment Practices Act, R.I. Gen.
 Laws § 28-5-1 et seq.; the Rhode Island Civil Rights Act of 1990, R.I. Gen. Laws § 42-112-1 et. seq.;
 and the Rhode Island Minimum Wage Act, R.I. Gen. Laws § 28-12-1 et seq. and alleges the following:

                                             The Parties

 1.     Plaintiff ALISON MCDANIEL (“McDaniel”) is an individual, female person of legal age,
        who, at all times relevant to this action, was an employee of Defendants PRESERVE
        PROPERTY MANAGEMENT COMPANY, LLC and THE PRESERVE AT BOULDER
        HILLS, LLC and a resident of the State of Texas. McDaniel is an “employee” within the
        meanings of 42 U.S.C. § 2000e(f); R.I. Gen. Laws § 28-5-6(7); and R.I. Gen. Laws § 28-14-1(2);
        and is a “person” within the meaning of R.I. Gen. Laws § 42-112-1(a).

 2.     Defendant PRESERVE PROPERTY MANAGEMENT COMPANY, LLC (“PRESERVE
        PROPERTY MANAGEMENT COMPANY”) is a domestic limited liability company
        organized under the laws of the State of Rhode Island, trading under the fictitious name The
        Preserve Sporting Club & Residences, and is authorized by the Rhode Island Secretary of
        State’s Office to conduct business within the state. At all times relevant to this action,
        Defendant PRESERVE PROPERTY MANAGEMENT COMPANY had the right or
        power to exercise control over the methods and means of how McDaniel performed her
        work and was an “employer” within the meanings of 42 U.S.C. § 2000e; R.I. Gen. Laws § 28-5-
        6(8)(i); and R.I. Gen. Laws § 28-14-1(3).




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 3.    Defendant THE PRESERVE AT BOULDER HILLS, LLC (“THE PRESERVE AT
       BOULDER HILLS”) is a domestic limited liability company organized under the laws of
       the State of Rhode Island and is authorized by the Rhode Island Secretary of State’s Office
       to conduct business within the state. At all times relevant to this action, Defendant THE
       PRESERVE AT BOULDER HILLS had the right or power to exercise control over the
       methods and means of how McDaniel performed her work and was an “employer” within
       the meanings of 42 U.S.C. § 2000e; R.I. Gen. Laws § 28-5-6(8)(i); and R.I. Gen. Laws § 28-14-
       1(3).

 4.    Defendant PAUL MIHAILIDES (“Mihailides”) is an individual, male person of legal age
       and a resident of the State of Rhode Island. Upon information and belief, at all times
       relevant to this action, Defendant MIHAILIDES was a member, manager, and/or agent of
       Defendant THE PRESERVE PROPERTY MANAGEMENT COMPANY, LLC and THE
       PRESERVE AT BOULDER HILLS, LLC. At all times relevant to this action, Defendant
       MIHAILIDES had the right or power to exercise control over the methods and means of
       how McDaniel performed her work, including having the sole authority to terminate her
       employment.

                                       Jurisdiction and Venue

 5.    This Court also has diversity jurisdiction under 28 U.S.C. § 1332 as Plaintiff and each
       Defendant are citizens of different states, and the amount in controversy exceeds $75,000.

 6.    This Court has federal question jurisdiction over Plaintiff’s claims under 42 U.S.C. § 2000e
       pursuant to 28 U.S.C. § 1331.

 7.    This Court’s exercise of supplemental jurisdiction with respect to Plaintiff’s state law claims is
       warranted because they are so related to Plaintiff’s federal claims that they form part of the
       same case or controversy.

 8.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b),(c) and 42 U.S.C.
       § 2000e-5(f)(3) because Defendants have offices, conduct business, and can be found in this
       District, and the causes of action arose and the acts and omissions complained of occurred
       herein.

 9.    Personal jurisdiction exists over Defendants in that they maintain sufficient minimal contacts
       in the State of Rhode Island. Specifically, Defendants engage in systematic and continuous
       activity in the State of Rhode Island. Moreover, a substantial portion of the actions
       complained of herein occurred in the State of Rhode Island.




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                                    Administrative Procedures

 10.   On October 4, 2022, McDaniel filed with the Equal Employment Opportunity Commission
       (the “EEOC”) a Charge of Discrimination for discrimination based on sex for violations of the
       Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (EEOC Charge No. 523-2022-02147),
       which was simultaneously filed with the Rhode Island Commission for Human Rights
       (“RICHR”) for violations of the Rhode Island Fair Employment Practices Act, R.I. Gen.
       Laws § 28-5-1 et seq. (RICHR No. 23 ESE 136) and, therefore, McDaniel has
       administratively exhausted her claims under 42 U.S.C. § 2000e et seq. and R.I. Gen. Laws §
       28-5-1 et seq.

 11.   On April 13, 2023, the EEOC issued a Notice of Right to Sue Letter.

 12.   On April 24, 2023, RICHR issued a Notice of Right to Sue Letter.

                                        Factual Allegations

 13.   The Preserve Sporting Club & Residences (“The Preserve”) is a luxury resort located in
       Richmond, Rhode Island where guests can stay in luxury upscale accommodations, enjoy
       fine dining and luxury spa services, and participate in outdoor, year-round activities such as
       fishing, clay shooting, indoor target practice, equestrian, hiking, and golf.

 14.   Mihailides is the owner of The Preserve and controls all aspects of its operations, including
       the hiring, managing, and firing of employees such as McDaniel.

 15.   In December 2019, Mihailides hired McDaniel to work at The Preserve.

 16.   At all times relevant to this matter, Defendant Mihailides had the right or power to exercise
       control over the methods and means of how McDaniel performed her work, including
       having the sole authority to terminate her employment.

 17.   McDaniel worked at The Preserve from in or about December 2019 to February 17, 2022, at
       which time she was constructively discharged from her valuable employment because
       Defendant Mihailides subjected her to a hostile work environment based on her sex
       (female).

 18.   McDaniel has worked as an actress and professional model since 2005.

 19.   McDaniel also operates the Alison McDaniel Agency, which helps non-profits meet their
       fundraising goals at charity events.

 20.   Defendants hired McDaniel to perform the following job duties at The Preserve: Acting as a
       Spokesperson for The Preserve; acting in commercials; creating and appearing in videos for
       social media; providing her image for print, social media, advertisements, and magazines;
       acting as the social media manager; appearing at special events; appearing in videos for the
       Sporting Shoppe located on The Preserve property; creating marketing campaigns and ideas;
       shooting photography and videography; editing social media videos, brochures, and ad
       campaigns; creating the 3rd Hobbit House Concept; collaborations with other brands
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       and/or people; working as editor for OEL magazine and managing its Instagram page;
       working and staffing trade shows to represent The Preserve in North Carolina, Texas and
       Pennsylvania; creating Fall Hobbit House décor; and hiring other professionals such as
       actors and videographers.

 21.   During the time period McDaniel performed work for The Preserve, Defendants had the
       right to control when, where, and how she performed her job.

 22.   In fact, Defendants had creative control over all of McDaniel’s work product, having the
       final say in all decisions regarding social media, marketing strategy, and video content.

 23.   During the time period McDaniel performed work at The Preserve, Defendants furnished
       the tools, materials, and equipment necessary for her to perform her job.

 24.   During the time period McDaniel performed work at The Preserve, she performed work on
       Defendants’ premises.

 25.   In fact, Defendants controlled McDaniel’s work schedule even when she was not on site.

 26.   During the time period McDaniel performed work at The Preserve, there was a continuing
       relationship between her and Defendants.

 27.   During the time period McDaniel performed work at The Preserve, Defendants had the
       right to assign additional projects to McDaniel.

 28.   During the time period McDaniel performed work at The Preserve, she was paid a monthly
       salary of $6,000 beginning in December 2019, rather than the agreed cost of performing a
       particular job.

 29.   During the time period McDaniel performed work at The Preserve, she did not regularly
       hire and pay assistants.

 30.   During the time period McDaniel performed work at The Preserve, the work McDaniel
       performed was part of Defendants’ regular business.

 31.   During the time period McDaniel performed work at The Preserve, Defendants were a
       business.

 32.   During the time period McDaniel performed work at The Preserve, Defendants could
       discharge McDaniel.

 33.   During the time period McDaniel performed work at The Preserve, McDaniel and
       Defendants believed that they created an employer-employee relationship.

 34.   Defendants paid for all supplies that McDaniel used to perform her work.

 35.   Defendants reimbursed McDaniel for her travel expenses.


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 36.      Defendants provided free housing to McDaniel when she worked at The Preserve.

 37.      McDaniel also waited tables on one occasion and helped to stock the Hilltop Lodge before
          its opened for business.

 38.      Beginning on McDaniel’s first visit to The Preserve, she became concerned with Mihailides’
          behavior towards her, which she felt was flirty, overly-friendly, and inappropriate.

 39.      McDaniel expressed her concerns about Mihailides to a friend mutual to her and Mihailides,
          who assured her that Mihailides was “happily married” and that she had nothing to worry
          about.

 40.      During McDaniel’s employment at The Preserve, Mihailides subjected her to repeated sexual
          advances including attempts to kiss her on the mouth, requests for sexual favors,
          inappropriate touching, ogling with suggestive overtones, and verbal and physical
          harassment of a sexual nature, which were unwelcome and offensive to McDaniel.

 41.      On May 31, 2021, Mihailides told multiple guests at The Preserve that McDaniel was his
          “mistress,” “future ex-wife,” and “girlfriend.”

 42.      Also, Mihailides would not stop hanging on McDaniel’s body and tried to kiss her on the
          mouth multiple times.

 43.      On June 7, 2021, when McDaniel texted Mihailides to thank him for something, he
          responded: “Do kisses come after that?”

 44.      On August 1, 2021, when McDaniel was unable to travel to The Preserve for the Fourth of
          July holiday due to illness, Mihailides told her: “I’m glad you didn’t die from your asthma
          attack. I would still have sex with you as long as your body wasn’t cold yet” or words to that
          effect.

 45.      On August 2, 2021, Mihailides told McDaniel that she made him mad because she wouldn’t
          kiss him or tell him that she loved him,

 46.      Mihailides also called McDaniel a “prude.”

 47.      On August 6, 2021, while in the presence of Dant Hirsch, President and Managing Director
          of Ocean House,1 and Robert Button (“Button”), a self-employed videographer, Mihailides
          talked about McDaniel’s body in a sexualized manner, describing what he wanted to do to
          her.

 48.      Later, Button asked McDaniel if Mihailides was always so “creepy” to her and asked her how
          she was able to put up with it.



 1
   Ocean House is a seaside resort located at Watch Hill, Rhode Island that includes a luxury hotel and spa and fine
 dining.

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 49.   On August 10, 2021, Mihailides told McDaniel that her lips were “so juicy,” and he can
       “only imagine what they can do.”

 50.   Later, McDaniel was told by another Preserve employee named “Lucas” that Mr. Mihailides
       insinuated to others that he was having sex with McDaniel.

 51.   Mihailides often disclosed to McDaniel that he was having multiple, extra-marital affairs,
       which she found to be unwelcome and offensive.

 52.   On August 13, 2021, Mihailides attempted to confide in McDaniel about a fight he had with
       his mistress, but McDaniel told him it was not something she wanted to discuss and that it
       was inappropriate and made her feel uncomfortable.

 53.   On or about August 20, 2021, during the filming of a photo shoot, Mihailides attempted to
       touch McDaniel’s buttocks.

 54.   Mihailides also bragged about receiving oral sex from a Preserve employee who worked at
       the front desk, claiming “she loves to get on her knees” and “she gives the best blowjobs.”

 55.   In or about late August 2021, while McDaniel was working on a photo shoot in the Spa with
       a young woman named “Lindsey,” who worked at The Preserve clubhouse, Mihailides
       entered with an unknown man and began to make sexual comments to McDaniel and
       Lindsey.

 56.   Mihailides told this unknown man that McDaniel and Lindsey were his “future ex-wives” at
       which time Mihailides attempted to grab and kiss the two women.

 57.   McDaniel pushed away Mihailides, but he still continued to hang all over Lindsey.

 58.   On September 14, 2021, Mihailides told McDaniel that he loved her and tried to kiss her on
       the mouth.

 59.   On September 15, 2021, Mihailides showed McDaniel a room in the Hilltop Lodge where he
       claimed he brought his mistresses for sexual encounters, referring to it as his “stabbin’
       cabin,” which McDaniel perceived to be a sexual reference.

 60.   On September 25, 2021, McDaniel was forced to sit through an un-necessary meeting, which
       happened regularly, where Mihailides was verbally abusive to her.

 61.   Mihailides told McDaniel that he could make her life easier if she just gave him what he
       wanted, “kisses.”

 62.   Mihailides said this after McDaniel unsuccessfully attempted to get a paycheck from him that
       Defendants owed to her.

 63.   On October 8, 2021, Mihailides would not stop staring at McDaniel’s breasts.



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 64.   Mihailides asked McDaniel if she was having her “period,” telling her that her “boobs look
       bigger.”

 65.   Mihailides made this comment about the size of McDaniel’s breasts in connection to her
       having her period on multiple occasions.

 66.   On October 9, 2021, Mihailides tried to kiss McDaniel on the mouth three times.

 67.   On October 11, 2021, McDaniel met with Mihailides again in yet another attempt to get an
       overdue paycheck.

 68.   During this meeting, Mihailides told McDaniel that he was a “good lover” and that if she
       “wasn’t such a prude, [her] life could get a lot better,” or words to that effect, telling her
       again, “You give a little, you get a lot.”

 69.   On several occasions, Mihailides would give McDaniel the slip when it was time to pay her,
       often making an excuse to leave the clubhouse before a check could be cut.

 70.   Sometimes Mihailides would mislead McDaniel into believing she was receiving a paycheck
       only to give her a reimbursement check for expenses.

 71.   On October 18, 2021, Mihailides called McDaniel to tell her that he loved her.

 72.   Mihailides also told McDaniel that a movie producer told him that McDaniel was in her late
       40’s, which is older than what Mihailides believed her age to be.

 73.   Mihailides told McDaniel that he was upset to learn that she was older because sleeping with
       her “wouldn’t be so creepy” since she would be closer to him in age.

 74.   On December 18, 2021, McDaniel begged Mihailides to pay her the money that The
       Preserve owed to her, but instead, he got angry, and called her a “liar.”

 75.   Later, Mihailides told McDaniel: “You know. If you just give me what I want, this would be
       a lot easier” or words to that effect.

 76.   On December 19, 2021, when McDaniel left The Preserve, Mihailides tried to kiss her on
       the mouth.

 77.   After knowing Mihailides for only a few months, he mentioned to McDaniel that his
       mistress ended an affair with him that was going on for many years after they had a fight.

 78.   McDaniel told Mihailides that she did not believe in adultery and that she did not want to
       discuss it.

 79.   On another occasion, Mihailides implied to McDaniel that he had sex on The Preserve
       property with a Preserve member and resident named “Karen” and that he liked to text her
       and ask her to show him her breasts when he drove by her.


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 80.   On another occasion, Mihailides told McDaniel that his mistress, whom McDaniel did not
       know, disliked McDaniel because she was jealous of their “relationship.”

 81.   McDaniel reasonably and in good faith believed that Mihailides told his mistress that he and
       McDaniel were sleeping together.

 82.   McDaniel was greatly offended that Mihailides was telling people that they were in a sexual
       relationship together.

 83.   Mihailides also played bizarre mind games with McDaniel.

 84.   By way of example, Mihailides would demand that he and McDaniel set up a telephone
       conference call for which Mihailides would ultimately be a no-show.

 85.   Mihailides would then berate McDaniel and “gas-light” her into believing that she was the
       cause for the missed connection.

 86.   When Mihailides would make himself available for a telephone conference call, it was never
       about business, but rather, it was always personal.

 87.   Mihailides would constantly tell McDaniel he missed her and that he loved her.

 88.   When McDaniel would not reciprocate and tell Mihailides that she loved him too, he would
       berate her and say she was “unthankful” and “difficult to work with.”

 89.   As a result of McDaniel’s rebuffing Mihailides’s sexual advances, Mihailides refused to pay
       McDaniel the wages owed to her, falsely claiming that it was due to the COVID pandemic.

 90.   Mihailides also became obsessed with connecting with McDaniel on social media.

 91.   On several occasions, Mihailides shared photos of McDaniel on his Facebook and Instagram
       pages with unusual and inappropriate comments.

 92.   For example, Mihailides would make comments on photos of McDaniel with her male
       friends and McDaniel with her dog, stating that he was “jealous.”

 93.   Sometimes, Mihailides would make a comment that McDaniel was “hot.”

 94.   On other occasions, when McDaniel was staying overnight in a cabin at The Preserve,
       Mihailides would insist on driving her back to her cabin even though it was a short walk
       from where she was.

 95.   Sometimes, McDaniel would bring her dog to the clubhouse so she would have a justifiable
       excuse for walking back to the cabin alone.

 96.   On the rare occasion when McDaniel allowed Mihailides to drive her back to her cabin late
       at night, he would insist on coming inside the cabin.


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 97.    To keep it from appearing to others that McDaniel and Mihailides were in a relationship,
        McDaniel would stand in the doorway, making herself clearly visible to others who drove by.

 98.    On one occasion, while McDaniel was staying at a cabin at The Preserve, as she was getting
        out of the shower in the morning, she heard someone downstairs and discovered that it was
        Mihailides.

 99.    When McDaniel yelled at Mihailides asking what he was doing in her cabin, he stated that he
        was just making sure that she was awake.

 100.   McDaniel was so distressed by Mihailides’ invasion of her privacy, especially since her cabin
        door was locked while she was in the shower, that going forward, she placed objects in front
        of the door to alert her in case Mihailides entered while she was showering or sleeping.

 101.   Mihailides’ sexually-harassing behavior was so open and notorious that even Mihailides’ wife
        Maureen joked about it in the presence of others.

 102.   On one occasion, Maureen stated to McDaniel in the presence of guests: “Have you ever
        had to deal with sexual harassment at work besides from my husband?” or words to that
        effect, provoking laughter from everyone at the table.

 103.   Mihailides’ sexual harassment of McDaniel was so severe and pervasive that she was forced
        to take anti-anxiety medication so she could interact with Mihailides.

 104.   McDaniel also hired friends to film with her so she could be around people she trusted.

 105.   On one occasion, McDaniel had to go to The Preserve for one day for a single meeting, so
        she took the train from New York City, where she lives part-time, to Kingston, Rhode
        Island.

 106.   McDaniel was expecting an employee from The Preserve to pick her up at the train station
        to drive her to The Preserve.

 107.   Instead, Mihailides showed up at the train station and drove McDaniel to The Preserve.

 108.   When McDaniel entered Mihailides’ vehicle, he told her how “hot” she was.

 109.   During the ride from the train station to The Preserve, Mihailides tried to hold McDaniel’s
        hand and touch her thigh which made her very uncomfortable.

 110.   When it was time for McDaniel to return to the train station, she snuck away from
        Mihailides and had a Preserve employee drive her back to the train station.

 111.   When Mihailides discovered that McDaniel had given him the slip, he was irate and punished
        her by not reimbursing her for the trip.

 112.   On several occasions, Mihailides would come up from behind McDaniel and rub her ears
        and touch her neck.
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 113.   Every time McDaniel was on The Preserve property, Mihailides would attempt to kiss her on
        the mouth, hug her, and hold her hand.

 114.   Mihailides was obsessed with McDaniel’s appearance and scrutinized how she looked, telling
        her: “I notice everything about you.”

 115.   On multiple occasions, Mihailides brought up the same story about a dildo sex toy that a
        guest mistakenly left behind in one of the houses, referring to it as a “big, black dildo.”

 116.   Mihailides then asked McDaniel if she had a dildo of her own.

 117.   Mihailides also talked to McDaniel regularly about how a very young woman – the daughter
        of a Preserve member – was a lesbian, asking McDaniel what she thought lesbians did,
        which McDaniel interpreted to mean what kind of sex they had.

 118.   Mihailides told McDaniel that he was going to sneak over to watch this young woman
        having a camp out with her friends so he could “watch the lesbians.”

 119.   Unfortunately, McDaniel is not the only person at The Preserve that Mihailides subjected to
        a hostile work environment based on sex.

 120.   Mihailides made unwelcome, offensive, sexual comments to a former Preserve employee
        named Alexandra Beahm (“Beahm”).

 121.   Mihailides also touched Beahm in a sexual manner that were unwelcome and offensive.

 122.   From on or about September 1, 2020 to in or about March 2021, Beahm was employed by
        The Preserve as a membership and real estate executive.

 123.   During Beahm’s employment, Mihailides approached her in the workplace on numerous
        occasions and tickled her which she found to be unwelcome and offensive.

 124.   On one occasion, Mihailides got on his knees so he could reach underneath Beahm’s desk so
        he could tickle her feet.

 125.   Mihailides told Beahm to lower her COVID mask in the presence of others so she could
        show her “pretty face.”

 126.   On another occasion, Mihailides made a joke about the size of his penis while he was in the
        presence of Beahm and a client.

 127.   Eventually, Beahm complained about Mihailides’ improper conduct to Daniel Hostettler
        (“Hostettler”), President of Ocean House Management (“OHM”), the entity which managed
        many functions for The Preserve.

 128.   Unfortunately, after Beahm complained about Mihailides, his sexually-harassing conduct did
        not stop.

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 129.   Shortly after Beahm’s complaint to Hostettler, Mihailides approached her in the workplace
        and touched her feet.

 130.   Mihailides also regularly made inappropriate comments about the way Beahm dressed.

 131.   On one occasion, while Beahm was conducting a property tour with a media client,
        Mihailides pulled over in his truck and said: “Hey, sexy.”

 132.   A few months after Beahm complained about Mihailides, Hostettler mentioned the
        complaint to her and stated that he assumed Mihailides’ improper conduct had stopped
        because he had not heard anything further from Beahm.

 133.   However, Beahm explained to Hostettler that Mihailides continued to act inappropriately
        towards her.

 134.   Beahm complained a second time about Mihailides, this time to Ann Reynolds (“Reynolds”),
        OHM’s Director of Human Resources.

 135.   Reynolds informed Beahm that there was no documentation of her first complaint and that
        she would look into the matter and get back to Beahm.

 136.   Shortly after Beahm’s second complaint about Mihailides, Hostetler informed her Mihailides
        had been spoken to by Hostetler and the OHM legal team about her complaints.

 137.   A day or two later, Beahm was told that she was permitted to return to the property with the
        understanding that she had to turn in her keys to avoid ever being alone in the building with
        Mihailides and that she was required to work six days a week instead of five.

 138.   When Beahm declined to accept this new condition of her employment, she was offered
        several alternative positions, but Beahm considered them to be demotions, so she declined
        them.

 139.   Beahm was also told that these alternate positions would better suit her needs as a new
        mother.

 140.   Upon information and belief, Defendants took no meaningful action to stop or prevent
        further harassment from Mihailides.

 141.   Beahn was constructively discharged shortly thereafter as it became clear to her that
        Defendants were unwilling to take any action against Mihailides to stop or prevent further
        harassment by him, so she resigned her employment.

 142.   During the time McDaniel worked at the Preserve, there was no Human Resources
        Department there and no procedures in place for reporting discrimination in the workplace.

 143.   In fact, Mihailides would often joke: “I am the HR Department!”

 144.   Mihailides also joked: “You know what you get if you complain to HR? You get fired!”
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 145.   Because there was no HR Department at the Preserve and because Mihailides was the owner
        of the Preserve, McDaniel complained about Mihailides’ sexually-harassing behavior several
        times to a Preserve manager named “Christine,” telling her that she did not know how much
        longer she could take Mihailides’ inappropriate sexual comments and conduct.

 146.   Christine confided in McDaniel that Mihailides made inappropriate sexual advances and
        comments to her as well.

 147.   Christine told McDaniel that Mihailides’ own daughter Nikki Rodin was trying to get rid of
        him because he was a “liability.”

 148.   Because there was no HR Department at the Preserve and because Mihailides was the owner
        of the Preserve, McDaniel had no power to stop Mihailides’ sexually-harassing conduct, and
        she was constructively discharged on February 17, 2022.

 149.   On March 8, 2022, McDaniel posted on her Instagram account that she was constrictively
        discharged from her valuable employment from The Preserve because of the sexually-
        harassing environment created by Mihailides and tolerated by her employer.

 150.   McDaniel received over a dozen comments and direct messages to her Instagram post from
        followers who either worked with Mihailides at The Preserve and had similar experiences
        with him or those who remember McDaniel telling them of the sexual harassment the
        previous year.

 151.   One Instagram follower wrote:




 152.   Another Instagram follower wrote:




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 153.   Another Instagram follower wrote:




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 154.   Another Instagram follower wrote:




 155.   Another Instagram follower wrote:




 156.   Another Instagram follower wrote:




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 157.   Another Instagram follower wrote:




 158.   Another Instagram follower wrote:




 159.   Another Instagram follower wrote:




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 160.   Another Instagram follower wrote:




 161.   Another Instagram follower wrote:




 162.   Another Instagram follower wrote:




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 163.   Another Instagram follower wrote:




 164.   Another Instagram follower wrote:




 165.   Defendants’ actionable conduct complained of herein proximately caused McDaniel to suffer
        grave and substantial pecuniary damages, including lost wages, bonuses, commissions, fringe
        benefits, vacation pay, as well as other pecuniary damages, now, and in the future.

 166.   Defendants’ actionable conduct complained of herein forced McDaniel to suffer substantial
        compensatory damages, including personal emotional pain, personal suffering, personal
        inconvenience and discomfort, mental anguish, emotional distress with resulting physical and
        emotional manifestations, loss of enjoyment of life, humiliation, embarrassment, adverse
        working conditions, offensive working conditions, abusive working conditions, stress
        anticipating the next confrontational incident of workplace harassment, and retaliation, despair
        regarding McDaniel’s inability to stop or limit the continuing workplace harassment and
        retaliation, fear and discomfort triggered by suffering a loss of income, fear regarding
        McDaniel’s ability to find new suitable employment, anguish, frustration, and other severe non-
        pecuniary losses, now, and in the future, as well as future pecuniary losses.




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 167.    The conduct of each Defendants warrants the imposition of statutory punitive or exemplary
         damages, because Defendants intentionally and maliciously and without justification or excuse
         subjected McDaniel to discriminatory terms and conditions of employment, harassed
         McDaniel because of her sex and illegally retaliated against McDaniel for resisting sexual
         advances, thereby demonstrating each Defendants’ reckless and callous indifference to
         McDaniel’s right to work in an environment free from unlawful gender discrimination, and
         demonstrating each Defendants’ malice or ill will.

 168.    Defendants stand jointly and severally liable to McDaniel for her damages resulting from the
         Defendants’ illegal and wrongful actions complained of herein.

        CLAIMS AGAINST DEFENDANTS PRESERVE PROPERTY MANAGEMENT
           COMPANY, LLC AND THE PRESERVE AT BOULDER HILLS, LLC

                                    COUNT I
                  VIOLATION OF THE CIVIL RIGHTS ACT OF 1964
                             42 U.S.C. § 2000e ET. AL.
                        DISCRIMINATION BASED ON SEX
              HOSTILE WORK ENVIRONMENT — SEXUAL HARASSMENT

 169.    McDaniel incorporates by reference paragraphs 1-168 of this Complaint as though fully set
         forth herein.

 170.    Mihailides had the right or power to exercise control over the methods and means of how
         McDaniel performed her work, including having the sole authority to terminate her
         employment.

 171.    Mihailides intentionally subjected McDaniel to harassment that was based on McDaniel’s sex
         as a female.

 172.    The harassment was unwelcome and uninvited.

 173.    The harassment was subjectively offensive and McDaniel did, in fact, perceive it to be
         offensive, hostile, and abusive.

 174.    The harassment was objectively offensive such that a reasonable woman would have found
         it to be offensive, hostile, and abusive.

 175.    The harassment was sufficiently severe or pervasive so as to alter the conditions of
         McDaniel’s employment and create an abusive working environment.

 176.    All of Mihailides’ discriminatory acts towards McDaniel were sufficiently similar.

 177.    Mihailides’ discriminatory acts towards McDaniel occurred with such frequency and
         repetition that they were not discrete and isolated, but rather, the discriminatory acts were
         continuous such that they collectively constitute one unlawful employment practice.

 178.    Mihailides’ harassment of McDaniel occurred up until the time of her constructive discharge.
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 179.   Because Mihailides is the owner of The Preserve, and upon information and belief, the sole
        member or majority member of Defendants Preserve Property Management Company and
        The Preserve at Boulder Hills – entities that served as McDaniel’s employer – thereby having
        the power and authority to control both entities, Mihailides is an individual sufficiently
        senior in each entity such that he is the proxy of each defendant.

 180.   Furthermore, because Mihailides is an individual sufficiently senior in each entity such that
        he is the proxy of each defendant, McDaniel was not required to first report Mihailides’
        sexually-harassing conduct in order to establish the liability of each defendant.

 181.   Accordingly, because Mihailides is the proxy of each defendant, Defendants Preserve
        Property Management Company and The Preserve at Boulder Hills are vicariously liable for
        Mihailides’ harassing conduct of McDaniel.

 182.   As a direct and proximate result of such illegal conduct, McDaniel has suffered grave and
        substantial damages, wherefore Defendants stand joint and severally liable to McDaniel for the
        damages more fully alleged in paragraphs 165-167 above.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                                      COUNT II
                     VIOLATION OF THE CIVIL RIGHTS ACT OF 1964
                               42 U.S.C. § 2000e ET. AL.
                        QUID PRO QUO SEXUAL HARASSMENT

 183.   McDaniel incorporates by reference paragraphs 1-182 of this Complaint as though fully set
        forth herein.

 184.   Mihailides made sexual advances against McDaniel that were unwelcome.

 185.   McDaniel refused Mihailides’ sexual advances.

 186.   Mihailides exerted significant control over the terms and conditions of McDaniel’s
        employment.

 187.   Mihailides used his position of authority over McDaniel to try to extract sexual favors from
        her.

 188.   On several occasions, Mihailides told McDaniel: “You know. If you just give me what I
        want, your life could get a lot easier” or words to that effect.

 189.   On several occasions, Mihailides told McDaniel: “You give a little. You get a lot.”

 190.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by being
        verbally abusive to her, thereby creating a hostile work environment.

 191.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by refusing to
        pay her for work performed.
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 192.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by refusing to
        reimburse her for expenses.

 193.   Because Mihailides was McDaniel’s direct supervisor, and he took actions against her
        adversely affecting her employment because she refused his sexual advances, Defendants are
        vicariously liable for Mihailides’ actions.

 194.   As a direct and proximate result of such illegal conduct, McDaniel has suffered grave and
        substantial damages, wherefore Defendant stand joint and severally liable to McDaniel for the
        damages more fully alleged in paragraphs 161-163 above.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                               COUNT III
   VIOLATION OF THE RHODE ISLAND FAIR EMPLOYMENT PRACTICES ACT
                      R.I. GEN. LAWS 28-5-1 ET. AL.
                   DISCRIMINATION BASED ON SEX
         HOSTILE WORK ENVIRONMENT — SEXUAL HARASSMENT

 195.   McDaniel incorporates by reference paragraphs 1-194 of this Complaint as though fully set
        forth herein.

 196.   Mihailides had the right or power to exercise control over the methods and means of how
        McDaniel performed her work, including having the sole authority to terminate her
        employment.

 197.   Mihailides’ intentionally subjected McDaniel to harassment that was based on McDaniel’s
        sex as a female.

 198.   The harassment was unwelcome and uninvited.

 199.   The harassment was subjectively offensive and McDaniel did, in fact, perceive it to be
        offensive, hostile, and abusive.

 200.   The harassment was objectively offensive such that a reasonable woman would have found
        it to be offensive, hostile, and abusive.

 201.   The harassment was sufficiently severe or pervasive so as to alter the conditions of
        McDaniel’s employment and create an abusive working environment.

 202.   All of Mihailides’ discriminatory acts towards McDaniel were sufficiently similar.

 203.   Mihailides’ discriminatory acts towards McDaniel occurred with such frequency and
        repetition that they were not discrete and isolated, but rather, the discriminatory acts were
        continuous such that they collectively constitute one unlawful employment practice.

 204.   Mihailides’ harassment of McDaniel occurred up until the time of her constructive discharge.


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 205.   Because Mihailides is the owner of The Preserve, and upon information and belief, the sole
        member or majority member of Defendants Preserve Property Management Company and
        The Preserve at Boulder Hills – entities that served as McDaniel’s employer – thereby having
        the power and authority to control both entities, Mihailides is an individual sufficiently
        senior in each entity such that he is the proxy of each defendant.

 206.   Furthermore, because Mihailides is an individual sufficiently senior in each entity such that
        he is the proxy of each defendant, McDaniel was not required to first report Mihailides’
        sexually-harassing conduct in order to establish the liability of each defendant.

 207.   Accordingly, because Mihailides is the proxy of each defendant, Defendants Preserve
        Property Management Company and The Preserve at Boulder Hills are vicariously liable for
        Mihailides’ harassing conduct of McDaniel.

 208.   As a direct and proximate result of such illegal conduct, McDaniel has suffered grave and
        substantial damages, wherefore Defendants stand joint and severally liable to McDaniel for the
        damages more fully alleged in paragraphs 165-167 above.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                               COUNT IV
   VIOLATION OF THE RHODE ISLAND FAIR EMPLOYMENT PRACTICES ACT
                      R.I. GEN. LAWS 28-5-1 ET. AL.
                 QUID PRO QUO SEXUAL HARASSMENT

 209.   McDaniel incorporates by reference paragraphs 1-208 of this Complaint as though fully set
        forth herein.

 210.   Mihailides made sexual advances against McDaniel that were unwelcome.

 211.   McDaniel refused Mihailides’ sexual advances.

 212.   Mihailides exerted significant control over the terms and conditions of McDaniel’s
        employment.

 213.   Mihailides used his position of authority over McDaniel to try to extract sexual favors from
        her.

 214.   On several occasions, Mihailides told McDaniel: “You know. If you just give me what I
        want, your life would be a lot easier” or words to that effect.

 215.   On several occasions, Mihailides told McDaniel: “You give a little. You get a lot.”

 216.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by being
        verbally abusive to her, thereby creating a hostile work environment.

 217.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by refusing to
        pay her for work performed.
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 218.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by refusing to
        reimburse her for expenses.

 219.   Because Mihailides was McDaniel’s direct supervisor, and he took actions against her
        adversely affecting her employment because she refused his sexual advances, Defendants are
        vicariously liable for Mihailides’ actions.

 220.   As a direct and proximate result of such illegal conduct, McDaniel has suffered grave and
        substantial damages, wherefore Defendant stand joint and severally liable to McDaniel for the
        damages more fully alleged in paragraphs 165-167 above.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                                  COUNT V
          VIOLATION OF THE RHODE ISLAND CIVIL RIGHTS ACT OF 1990
                        R.I. GEN. LAWS 42-112-1 ET. AL.
                      DISCRIMINATION BASED ON SEX
            HOSTILE WORK ENVIRONMENT — SEXUAL HARASSMENT

 221.   McDaniel incorporates by reference paragraphs 1-220 of this Complaint as though fully set
        forth herein.

 222.   Mihailides had the right or power to exercise control over the methods and means of how
        McDaniel performed her work, including having the sole authority to terminate her
        employment.

 223.   Mihailides’ intentionally subjected McDaniel to harassment that was based on McDaniel’s
        sex as a female.

 224.   The harassment was unwelcome and uninvited.

 225.   The harassment was subjectively offensive and McDaniel did, in fact, perceive it to be
        offensive, hostile, and abusive.

 226.   The harassment was objectively offensive such that a reasonable woman would have found
        it to be offensive, hostile, and abusive.

 227.   The harassment was sufficiently severe or pervasive so as to alter the conditions of
        McDaniel’s employment and create an abusive working environment.

 228.   All of Mihailides’ discriminatory acts towards McDaniel were sufficiently similar.

 229.   Mihailides’ discriminatory acts towards McDaniel occurred with such frequency and
        repetition that they were not discrete and isolated, but rather, the discriminatory acts were
        continuous such that they collectively constitute one unlawful employment practice.

 230.   Mihailides’ harassment of McDaniel occurred up until the time of her constructive discharge.


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 231.   Because Mihailides is the owner of The Preserve, and upon information and belief, the sole
        member or majority member of Defendants Preserve Property Management Company and
        The Preserve at Boulder Hills – entities that served as McDaniel’s employer – thereby having
        the power and authority to control both entities, Mihailides is an individual sufficiently
        senior in each entity such that he is the proxy of each defendant.

 232.   Furthermore, because Mihailides is an individual sufficiently senior in each entity such that
        he is the proxy of each defendant, McDaniel was not required to first report Mihailides’
        sexually-harassing conduct in order to establish the liability of each defendant.

 233.   Accordingly, because Mihailides is the proxy of each defendant, Defendants Preserve
        Property Management Company and The Preserve at Boulder Hills are vicariously liable for
        Mihailides’ harassing conduct of McDaniel.

 234.   As a direct and proximate result of such illegal conduct, McDaniel has suffered grave and
        substantial damages, wherefore Defendants stand joint and severally liable to McDaniel for the
        damages more fully alleged in paragraphs 165-167 above.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                                  COUNT VI
          VIOLATION OF THE RHODE ISLAND CIVIL RIGHTS ACT OF 1990
                        R.I. GEN. LAWS 42-112-1 ET. AL.
                    QUID PRO QUO SEXUAL HARASSMENT

 235.   McDaniel incorporates by reference paragraphs 1-234 of this Complaint as though fully set
        forth herein.

 236.   Mihailides made sexual advances against McDaniel that were unwelcome.

 237.   McDaniel refused Mihailides’ sexual advances.

 238.   Mihailides exerted significant control over the terms and conditions of McDaniel’s
        employment.

 239.   Mihailides used his position of authority over McDaniel to try to extract sexual favors from
        her.

 240.   On several occasions, Mihailides told McDaniel: “You know. If you just give me what I
        want, your life would be a lot easier” or words to that effect.

 241.   On several occasions, Mihailides told McDaniel: “You give a little. You get a lot.”

 242.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by being
        verbally abusive to her, thereby creating a hostile work environment.

 243.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by refusing to
        pay her for work performed.
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 244.   When McDaniel refused Mihailides’ sexual advances, he retaliated against her by refusing to
        reimburse her for expenses.

 245.   Because Mihailides was McDaniel’s direct supervisor, and he took actions against her
        adversely affecting her employment because she refused his sexual advances, Defendants are
        vicariously liable for Mihailides’ actions.

 246.   As a direct and proximate result of such illegal conduct, McDaniel has suffered grave and
        substantial damages, wherefore Defendant stand joint and severally liable to McDaniel for the
        damages more fully alleged in paragraphs 165-167 above.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                                    COUNT VII
                     VIOLATION OF R.I. GEN. LAWS § 28-14-1 ET SEQ.
                            FAILURE TO PAY WAGES DUE

 247.   McDaniel hereby incorporates by reference paragraphs 1-246 of this Complaint as though
        fully set forth herein.

 248.   R.I. Gen. Laws § 28-14-1 et. seq. establishes the right of employees to be paid wages for
        their work.

 249.   McDaniel and Defendants had an agreement whereupon Defendants agreed to pay
        McDaniel a salary of $6,000 per month beginning in December 2019 for work performed at
        The Preserve.

 250.   However, during the time McDaniel performed work at The Preserve, Defendants never
        compensated her fully for her work.

 251.   McDaniel worked at The Preserve for twenty-five (25) months, which entitled her to
        $150,000 in gross wages ($6,000 per month * 25 months = $150,000).

 252.   However, Defendants only paid McDaniel $30,087 in 2020 and $13,850 in 2021, leaving
        unpaid back wages in the amount of $106,063 [$150,000 – ($30,087 + $13,850) = $106,063].

 253.   Defendants, by their individual and/or concerted acts and/or omissions, including, but not
        limited to, those described herein, violated R.I. Gen. Laws § 28-14-1 et. seq. by failing to pay
        wages as provided therein, thereby causing McDaniel to suffer damages as aforesaid, for
        which she is entitled pursuant to R.I. Gen. Laws § 28-14-19.2 to recover all unpaid wages
        and benefits, compensatory damages, liquidated damages in an amount up to two (2) times
        the amount of unpaid wages and/or benefits owed, and reasonable attorneys’ fees and costs.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.




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                                     COUNT VIII
                         VIOLATION OF R.I. GEN. LAWS § 28-14-19.1
                           MISCLASSIFICATION OF EMPLOYEE

 254.   McDaniel incorporates by reference paragraphs 1-253 of this Complaint as though fully set
        forth herein.

 255.   At all times relevant to this matter, Defendant Mihailides had the right or power to exercise
        control over the methods and means of how McDaniel performed her work, including
        having the sole authority to terminate her employment and, therefore, McDaniel did not
        serve Defendants as an independent contractor, but rather, she served as an employee.

 256.   Because McDaniel did not serve Defendants as an independent contractor, they were
        required to remit to the IRS and the Rhode Island Division of Taxation the employer’s
        matching contribution of the taxes it was required by law to pay.

 257.   Defendants, by their individual and/or concerted acts and/or omissions, including, but not
        limited to, those described herein, violated R.I. Gen. Laws § 28-14-19.1 by misclassifying
        McDaniel as an independent contractor, thereby causing McDaniel to suffer damages as
        aforesaid, for which she is entitled to recover.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.

                                        COUNT IX
                                   BREACH OF CONTRACT

 258.   McDaniel incorporates by reference paragraphs 1-257 of this Complaint as though fully set
        forth herein.

 259.   McDaniel and Defendants had an agreement whereupon Defendants agreed to pay
        McDaniel a salary of $6,000 per month beginning in December 2019 for work performed at
        The Preserve.

 260.   However, during the time McDaniel performed work at The Preserve, Defendants never
        compensated her fully for her work.

 261.   McDaniel worked at The Preserve for twenty-five (25) months, which entitled her to
        $150,000 in gross wages ($6,000 per month * 25 months = $150,000).

 262.   However, Defendants only paid McDaniel $30,087 in 2020 and $13,850 in 2021, leaving
        unpaid balance in the amount of $106,063 [$150,000 – ($30,087 + $13,850) = $106,063].

 263.   Defendants’ conduct as described herein constitutes a breach of contract.

 264.   McDaniel has been harmed thereby.

        WHEREFORE, McDaniel prays for the relief hereinafter set forth.


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                  CLAIMS AGAINST DEFENDANT PAUL MIHAILIDES

                                            COUNT X
                                          DEFAMATION

 265.   McDaniel incorporates by reference paragraphs 1-264 of this Complaint as though fully set
        forth herein.

 266.   Mihailides uttered false and defamatory statements about McDaniel when he stated that she
        was involved in a sexual relationship with him by telling others that she was his mistress.

 267.   Mihailides communicated these false and defamatory statements to a third party.

 268.   The communication of these false and defamatory statements to a third party were not
        privileged.

 269.   Mihailides knew the defamatory statements were false when he communicated them to a third
        party.

 270.   Mihailides was negligent for allowing the false and defamatory statements to be communicated
        to a third party.

 271.   The false and defamatory statements constitute defamation per se because it charged McDaniel
        with serious sexual misconduct as Mihailides was married at the time of the defamatory
        statements.

 272.   The false and defamatory statements constitute defamation per se because it charged McDaniel
        with having a sexual relationship with her direct supervisor – a matter incompatible with her
        business, trade, or profession.

        WHEREFORE, Plaintiff prays for the relief hereinafter set forth.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff ALISON MCDANIEL prays that the Court grant the following relief:

 1.    An order directing Defendants to place Plaintiff in the position Plaintiff would have occupied
       but for Defendants’ discriminatory treatment of Plaintiff, and make Plaintiff whole for all
       earnings and benefits Plaintiff would have received but for Defendant’s discriminatory
       treatment, including, but not limited to, wages and employment benefits.

 2.    A finding that the Defendants stands joint and severally liable to make Plaintiff whole for all
       damages suffered as a result of the wrongful acts and omissions alleged in each Count herein,
       including inter alia damages for emotional harm, back pay, and front pay, and the value of lost
       fringe benefits;

 3.    A finding that the Defendants stand joint and severally liable to Plaintiff for the imposition of
       statutory exemplary or punitive damages, because Defendants intentionally and maliciously and
       without justification or excuse illegally discriminated against Plaintiff on the basis of her sex,
       thereby demonstrating Defendants’ reckless and callous indifference to Plaintiff’s right to work
       in an environment free from unlawful discrimination, and demonstrating Defendants’ malice or
       ill will;

 4.    An order declaring that the acts and practices complained of herein are in violation of the Civil
       Rights Act of 1964, 42 U.S.C. § 2000e et seq.; the Rhode Island Fair Employment Practices
       Act, R.I. Gen. Laws § 28-5-1 et seq.; the Rhode Island Civil Rights Act of 1990, R.I. Gen.
       Laws § 42-112-1 et. seq.; and the Rhode Island Minimum Wage Act, R.I. Gen. Laws § 28-12-1
       et seq.

 5.    A permanent injunction against Defendants prohibiting future acts of discrimination against
       Plaintiff and similarly-situated employees;

 6.    An order enjoining and permanently restraining Defendants from further violations of the Civil
       Rights Act of 1964, 42 U.S.C. § 2000e et seq.; the Rhode Island Fair Employment Practices
       Act, R.I. Gen. Laws § 28-5-1 et seq.; the Rhode Island Civil Rights Act of 1990, R.I. Gen.
       Laws § 42-112-1 et. seq.; and the Rhode Island Minimum Wage Act, R.I. Gen. Laws § 28-12-1
       et seq.

 7.    An order directing Defendants to take such affirmative action as is necessary to ensure that the
       effects of these unlawful employment practices are eliminated and do not continue to affect
       Plaintiff’s employment opportunities;

 8.    An award of unpaid wages in the amount of $106,063;

 9.    An award of liquidated damages pursuant to R.I. Gen. Laws § 28-14-19.2 equal to two times
       the amount of wages owed in the amount of $212,126;


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 10.    Impose a civil penalty in the amount of $3,000 pursuant to R.I. Gen. Laws § 28-14-19.1(b) to
        be shared equally between Plaintiff and the Rhode Island Department of Employment and
        Training.

 11.    An award of $500,000 for emotional pain and suffering;

 12.    An award of $500,000 for damage to reputation;

 13.    An award of $2,000,000 for punitive damages;

 14.    A finding that Defendants stand joint and severally liable to Plaintiff for an award of her
        reasonable attorneys’ fees, litigation costs and other costs of this action, together with a post-
        trial hearing to determine the amount of Plaintiff’s reasonable attorneys’ fees taxable to
        Defendant, along with a determination of Plaintiff’s litigation costs and expenses taxable to
        Defendant;

 15.    An appropriate award of pre-judgment interest at twelve percent (12%) per annum on all sums
        recovered; and

 16.    Such other and further relief as this Court deems just and proper.

                                           VERIFICATION

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United
 States of America that the foregoing is true and correct. Executed on this 11th day of July 2023.

                                                          /s/Alison McDaniel ______
                                                          ALISON MCDANIEL


                                                Respectfully Submitted by:

                                                Plaintiff
                                                ALISON MCDANIEL
                                                By and Through Her Attorney,

                                               /s/Mark P. Gagliardi_____________
                                               Mark P. Gagliardi (R.I. Bar ID#6819)
                                               mark@markgagliardilaw.net

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 Date: July 11, 2023

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